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                            IN THE UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
13

14   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
15                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
16                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
17
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
18
            Defendant.                               No Hearing Date Set Pursuant to L.R. 7-11(c)
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     Case 4:20-cv-05146-YGR            Document 723         Filed 06/18/22       Page 2 of 6



 1           Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5                          Document                  Portions Sought             Evidence Offered in
 6                                                      to be Sealed              Support of Sealing
            Plaintiffs’ Reply Brief re: Targeted Use Entire document            Defendant to provide
       1    of Calhoun Discovery in In re Google                                evidence, per Local
 7
            RTB Consumer Privacy Litigation,                                    Rule 79-5(f)
 8          Pursuant to Dkt. 683
 9
            Supplemental Declaration of Prof.            Entire document        Defendant to provide
       2    Zubair Shafiq in Support of Plaintiffs’                             evidence, per Local
10
            Reply Brief re: Targeted Use of                                     Rule 79-5(f)
11          Calhoun Discovery in In re Google
            RTB Consumer Privacy Litigation,
12          Pursuant to Dkt. 683
13
            Supplemental Declaration of Lesley E.        Entire document        Defendant to provide
       3    Weaver in Support of Plaintiffs’ Reply                              evidence, per Local
14
            Brief re: Targeted Use of Calhoun                                   Rule 79-5(f)
15          Discovery in In re Google RTB
            Consumer Privacy Litigation, Pursuant
16          to Dkt. 683
17
            Exhibits P – U to the Declaration of         Entire documents       Defendant to provide
       4    Lesley E. Weaver                                                    evidence, per Local
18
                                                                                Rule 79-5(f)
19

20           Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials
21   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.
22   Portions of the documents listed above quote, summarize, or otherwise reflect information that
23   Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes
24   Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
25   bears the responsibility to establish that all of the designated material is sealable.
26           In accordance with Civil Local Rules 79-5(d) and (e), the following attachments accompany
27   this motion:
28

     PLS. ADMIN. MOT. TO SEAL                           1             CASE NO. 4:20-CV-05146-YGR-SVK
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 1            1. a proposed order that lists in table format the documents sought to be sealed;
 2            2. an unredacted version of Plaintiffs’ Reply Brief re: Targeted Use of Calhoun
 3                Discovery in In re Google RTB Consumer Privacy Litigation, Pursuant to Dkt. 683;
 4            3. an unredacted version of the Supplemental Declaration of Prof. Zubair Shafiq in
 5                Support of Plaintiffs’ Reply Brief re: Targeted Use of Calhoun Discovery in In re
 6                Google RTB Consumer Privacy Litigation, Pursuant to Dkt. 683;
 7            4. an unredacted version of the Supplemental Declaration of Lesley E. Weaver in
 8                Support of Plaintiffs’ Reply Brief re: Targeted Use of Calhoun Discovery in In re
 9                Google RTB Consumer Privacy Litigation, Pursuant to Dkt. 683; and
10            5. unredacted versions of Exhibits P – U to the Declaration of Lesley E. Weaver.
11
     Dated: June 18, 2022                              Respectfully submitted,
12
     BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
13
     By: /s/ Lesley E. Weaver                          By:     /s/ David A. Straite
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     PLS. ADMIN. MOT. TO SEAL                      2              CASE NO. 4:20-CV-05146-YGR-SVK
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
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     Dated: June 18, 2022                                  /s/ Lesley E. Weaver
 5                                                         Lesley E. Weaver

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     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR          Document 723         Filed 06/18/22      Page 5 of 6



 1                                    CERTIFICATE OF SERVICE

 2          I, Lesley E. Weaver, hereby certify that on June 18, 2022, I electronically filed the foregoing

 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record.
 5
            I caused a copy of the under seal filings to be served via electronic mail to counsel for
 6
     Defendant Google LLC in this action, as well as counsel for Defendant Google LLC in the In re
 7
     Google RTB Consumer Privacy Litigation action, pursuant to the Court’s order, as set forth below.
 8

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27    Facsimile: (202) 538-8100                         Litigation
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     CERTIFICATE OF SERVICE                                        CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR         Document 723       Filed 06/18/22    Page 6 of 6


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 6

 7
     Dated: June 18, 2022                                     /s/ Lesley E. Weaver
 8                                                            Lesley E. Weaver
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     PLS. ADMIN. MOT. TO SEAL                      2          CASE NO. 4:20-CV-05146-YGR-SVK
